         Case 1:19-cv-11835-WGY Document 281 Filed 06/16/22 Page 1 of 14




                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS

JACK OWENS, JEFFREY DREES,
KATELYN MURPHY, PATRICK
MANOLIAN, SCOTT MANN, and SEAN
HUSSEY, on behalf of themselves and all
others similarly situated,

        Plaintiffs,                               Civil Action No. 1:19-cv-11835-WGY

v.

CITY OF MALDEN,

       Defendant.


          DEFENDANT’S RESPONSE TO PLAINTIFFS’ PROPOSED FINAL
        JUDGMENT REGARDING CITY OF MALDEN’S VIOLATION OF THE
     MASSACHUSETTS WAGE ACT M.G.L. c. 149, § 148 PURSUANT TO ECF NO. 271

        Throughout the course of this action, Plaintiffs have proffered estimates of their ostensible

damages that are unsupported by or contrary to the record evidence. In an extension of that pattern,

the damages calculations that Plaintiffs submitted in support of their Proposed Final Judgment

Regarding City of Malden’s Violation of the Massachusetts Wage Act M.G.L. c. 149, § 148

Pursuant to ECF No. 271 (Dkt. 277, “Plaintiffs’ Third Proposal”) are rife with errors and cannot

serve as the basis for a final judgment in this case. Plaintiffs have calculated their proposed

damages award in a manner that is inconsistent with this Court’s orders and the trial evidence, as

detailed in Section II herein.     Plaintiffs have further improperly inflated their request for

prejudgment interest, as detailed in Section III herein.

        In an effort to move this matter towards final judgment, the City has corrected each of

Plaintiffs’ errors, and is including as Exhibit 1 hereto a revised version of Plaintiffs’ damages

calculations that incorporates these changes. As reflected Section IV, infra, pursuant to this

Court’s orders, final judgment in this case should enter in the amount of not more than


                                                  1
        Case 1:19-cv-11835-WGY Document 281 Filed 06/16/22 Page 2 of 14




$4,162,613.67, inclusive of statutory treble damages, and not more than $452,212.89 in

prejudgment interest.1

I.      Plaintiffs’ Third Proposal Continues to Apply Improper Methodology that Is Not
        Supported By Record Evidence.

        By its February 15, 2022 Order (Dkt. 271, the “February 15 Order”)), the Court ordered

Plaintiffs to submit damages calculations “supported by citations to the specific exhibits, admitted

as evidence at trial, that support the damages award.” February 15 Order, at 3 n.2. Plaintiffs chose

to re-engage Michelle Smith, CPA to perform the calculations that they submit in support of their

Third Proposal. Dkt. 277-1 (the “Second Smith Report”). Unfortunately, similar to her prior

calculations, which the Court found “fail[ed] for lack of evidence” (Dkt. 264, at 5), Ms. Smith’s

revised calculations materially contradict this Court’s orders and the record evidence in this case,

and must be rejected.

        A.      Plaintiffs’ Third Proposal Applies the Incorrect Statute of Limitations.

        On September 24, 2021, this Court found that “Plaintiffs who have suffered damages up to

the start of an action may collect damages incurred throughout the applicable limitations period.”

September 24, 2021 Order (Dkt. 264, the “September 24 Order”), ¶2 (emphasis added). It then

went on to rule that “the applicable limitations period began August 28, 2016 and ended August

29, 2019, exactly.” Id. Plaintiffs and Ms. Smith ignore the September 24 Order, and – without

citation to any record evidence or any explanation for their departure from the Order – calculate

damages allegedly owing to Plaintiffs for details worked between August 22, 2016 (6 days prior

to the start of the limitations period) and April 8, 2021 (nearly 20 months past the period of time




1
 The City intends to appeal any adverse judgment entered on the merits of Plaintiffs’ claims and reserves
all such rights.


                                                    2
        Case 1:19-cv-11835-WGY Document 281 Filed 06/16/22 Page 3 of 14




the Court has ruled is at issue in this case).2 See generally Plaintiffs’ Third Proposal, at Dkt. 277-

3 (excel spreadsheet in support of Plaintiffs’ damages calculations).

        The City’s revised version of Plaintiffs’ damages calculations is consistent with the Court’s

September 24 Order. While the City has listed the details worked either before August 28, 2016

or after August 28, 2019 in its Exhibit 1, it has attributed $0.00 as owing for such details.

        B.      Plaintiffs’ Third Proposal Seeks Damages for City Details,
                Despite Count II Being Limited to Private Details.

        By Count II of their Amended Complaint, Plaintiffs claim that the City “violated

Massachusetts General Laws chapter 149, section 148 by deducting a ten percent administrative

fee from the Plaintiffs’ wages earned for private detail work.” Corrected Memorandum of

Decision, dated October 26, 2021 (Dkt. 267, the “October 26 Order”), at 17 (emphasis added)

(citing Am. Compl., ¶¶ 34, 47-48). Nowhere in any of its Orders does the Court find that the City

violated the Wage Act in payment to Plaintiffs for work they performed on City Details – i.e.,

details requested by any of the City Departments listed on Trial Exhibit 45. See id. at 8-9. It did

not. The Court’s judgment in favor of Plaintiffs regarding Count II is thus explicitly limited to a

finding that the City violated the Wage Act as to work performed by Plaintiffs on Private Details

only. Id. at Section III(A) (“Violation of the Wage Act For Private Details”).

        Despite this Court’s clear Order, Ms. Smith’s damages calculations include damages

allegedly incurred for work performed by Plaintiffs on City Details, including details requested by



2
  The City intends to appeal the Court’s ruling as to the applicable statute of limitations period. Plaintiffs
first filed a non-payment of wages complaint with the Attorney General’s Office on June 9, 2021. See
Plaintiffs’ Letter to Lauren Moran, Chief, Fair Labor Division, Attorney General’s Office (Dkt. 251-1),
dated June 9, 2021. The statute of limitation applicable to this case is, therefore, June 9, 2018 through the
date of trial in this action. See G.L. c. 149, § 150 (three-year statute of limitations for civil enforcement
actions); Attorney General Advisory, 98/2; Tigges v. AM Pizza, Inc., Nos. 16-10136-WGY, 16-10474-
WGY; 2016 WL 4076829, at *4 n. 9 (D. Mass. Aug. 24, 2016) (applying statute of limitations in civil case
from date of pre-suit AG filing).


                                                      3
        Case 1:19-cv-11835-WGY Document 281 Filed 06/16/22 Page 4 of 14




“Board of Health Malden,” “City of Malden,” “City of Malden DPW,” “City of Malden

Waterworks & Engineering,” “Malden DPW Traffic Division,” “Malden High School,” “Malden

Library,” “Malden Traffic,” “Malden Water,” “Mayor’s Office City of Malden,” “Polls,”3 and

“Water Dept City of Malden.” Again, Plaintiffs submit no evidentiary support or other rationale

for the inclusion of these details in their Third Proposal; there is none, and details performed for

each of these City Departments should be excluded from Plaintiffs’ damages calculations.

        The City’s revised version of Plaintiffs’ damages calculations is consistent with scope of

the details at issue in Count II and the Court’s October 26 Order. While the City has listed the

details worked for the City in Exhibit 1, it has attributed $0.00 as owing for such details.

        C.      Plaintiffs Calculate Damages Amounts by Pyramiding Multipliers, without
                Evidentiary Support.

        Plaintiffs’ Third Proposal includes the application of multipliers on top of multipliers to

inflate the hourly rate for details to rates that, in some cases, exceed ten times the officer’s base

hourly rate, leading to claims for detail work as high as $426.94 per hour. Plaintiffs and Ms. Smith

rely exclusively on Trial Exhibits 23-28 (the City’s records showing details worked and amounts

paid to officers) as support for their calculations of the damages owed to Plaintiffs, as reflected in

Plaintiffs’ Third Proposal.      See Second Smith Report, at 5-6 (“Procedures for Obtaining

Evidence”). In relevant part, Ms. Smith cites to “‘Multiplier Level[s]’ used by the detail clerk,”

to establish the applicable rates of pay for various types of details. Id. at 7. Ms. Smith attributes

a “Level” to each detail by compounding each of the Multipliers that she believes applied to such

detail.4 Second Smith Report, at 9 (“Base Rates and Multiplier Calculations-Corrected Rates”).


3
 While Polls are not listed on Exhibit 45, they are coordinated by the City Clerk’s Office, as recognized by
Article 24, § 5 of the Collective Bargaining Agreement (Trial Exhibit 5), which contemplates that “the City
can order an officer or officers to work the polls . . .”
4
 Ms. Smith’s report attributes five Levels to “Regular Details”: Base (Base); II (Base times 1.5); III (Base
x 1.5 x 1.5); IV (Base x 1.5 x 1.5 x 1.5); V (Base x 1.5 x 1.5 x 1.5). It similarly attributes six Levels to


                                                     4
         Case 1:19-cv-11835-WGY Document 281 Filed 06/16/22 Page 5 of 14




She then applies a “corrected rate to the hours obtained from the raw data,” at the various

recalculated “Multiplier Levels,” in order to calculate damages in this case. Id.

        In finding that the City violated the Wage Act, the Court concluded that certain

“Multipliers” of the base detail rate for Private Details are “contemplated in the Agreement and . .

. must be taken into account when calculating an applicable detail rate.” October 26 Order, at 45;

id. at 3-4 (“Evidence presented at trial . . established that there are several enhancements (the

‘Multipliers’) to detail rates for detail work performed under specific conditions – strike action,

after midnight, detail work by supervisors, detail work on holidays and detail work in excess of

eight hours. . .”) (citing Dkt. 260 (Molis Testimony) at 127-128; Trial Ex. 12 (Malden Police

Department Detail Rules & Procedures, ¶¶ I.17, I.21, IV.3.))5 Nowhere, however, do either the

applicable Collective Bargaining Agreement (Trial Exhibit 5) or the Malden Police Department

Detail Rules & Procedures (Trial Exhibit 12) contemplate pyramiding those Multipliers in the

manner applied by Ms. Smith, whereby she multiplies premium rate upon premium rate for a single

detail. See 277-1, at 7-8. Plaintiffs submit no trial evidence to support for the pyramiding of

Multipliers, nor do they submit “an affidavit to that effect,” as the Court invited them to do. See

February 15 Order, at 3 n.2. Ms. Smith’s application of “Multiplier Levels” that exceed the




“Strike Details”: B (Base); SI (Base x 2.0); SII (Base x 2.0 x 1.5); SIII (Base x 2.0 x 1.5 x 1.5); SIV (Base
x 2.0 x 1.5 x 1.5 x 1.5); SV (Base x 2.0 x 1.5 x 1.5 x 1.5 x 1.5). Each Level has a corresponding “corrected
rate,” which varies based upon which of the six time periods Ms. Smith identified that it falls within. Second
Smith Report, at 9 (“Base Rates and Multiplier Calculations-Corrected Rates”).
5
  The City intends to appeal the Court’s ruling that the parties’ collective bargaining agreement is a
“partially integrated document.” Dkt. 264, at 3, 41-45. Further, to the extent the collective bargaining
agreement is determined to be partially integrated, the Court’s findings that Plaintiffs are entitled to pay at
a higher rate than they received did not give effect to the past practices doctrine, the fact that the parties had
at all times proceeded on the mutual understanding that the rates paid were the rates as prescribed by the
collective bargaining agreement, or the fact that the rates paid had been calculated and established by
members of the Plaintiff group. See Defendant’s Post-Trial Brief (Dkt. 239), at 12-13, 14-16.




                                                        5
        Case 1:19-cv-11835-WGY Document 281 Filed 06/16/22 Page 6 of 14




Multipliers themselves grossly overstates the damages to be awarded based on the Court’s prior

rulings in this matter.

        The City’s revised version of Plaintiffs’ damages calculations eliminates the Plaintiffs’

attempt to pyramid Multipliers upon Multipliers. For all “Regular Details” that Ms. Smith

identified as Level III, IV, or V, the City replaced the rates Ms. Smith attributed to them with the

“corrected rates” Ms. Smith identified for Level II (base rate times 1.5) for the same time period.

For all “Strike Details” that Ms. Smith identified as Level SII, SIII, SIV, SV, the City replaced the

rates Ms. Smith attributed to them with the “corrected rates” that Ms. Smith identified for Level

SI (base rate times 2.0) for the same time period.6 The City then compared the resulting amounts

owed using said corrected rates to the amounts actually paid for those details. To the extent that

the former exceeded the latter, the City identified those as damages owed to Plaintiffs pursuant to

the Court’s October 26 Order.7

        D.      Ms. Smith Continues to Apply Manual Adjustments that Permeate and
                Undermine Her Calculations.

        In its September 24 Order, the Court unequivocally found that Ms. Smith’s “‘manual

adjustments’ fail for lack of evidence and shall not be included in the calculation of damages for

the Wage Act Claim.” Dkt. 264, at 4. While Plaintiffs eliminated many of Ms. Smith’s manual

adjustments from the calculations that they submitted with their Third Proposal, they did not

resolve them all. In her Second Report, Ms. Smith states:

        It should be noted that overnight shifts or partial overnight shifts were most often
        reported as an extension of the previous day and not the actual calendar date. While
        this was counterintuitive for some testing procedures, it did serve to help identify
        continuous shifts. The shift in the example above shows a rate change at 8/31/16 at

6
  This approach ensures that for each detail worked, Plaintiffs get the maximum rate Multiplier arguably
attributable to that detail, but avoids the pyramiding approach that is not supported by trial evidence.
7
 To the extent that the amount paid by the City exceeded the recalculated amount now allegedly owed, the
City simply zeroed out the amount owed.


                                                   6
        Case 1:19-cv-11835-WGY Document 281 Filed 06/16/22 Page 7 of 14




       midnight (0:00), however it was actually 9/1/16 at midnight. This was an important
       factor to consider in identifying both holiday multipliers and overtime multipliers.

Smith Second Report, at 6. She cites no record evidence to support her speculation that the dates

reflected in Trial Exhibits 23-28 as occurring at midnight were incorrectly reflected as the prior

date; again, there is none. Ms. Smith’s speculation that the trial evidence was incorrect is

inappropriate, and her manual adjustments to record evidence on what she describes as an

“important factor” to her analysis must be rejected.

       The City has identified 628 instances in Plaintiffs’ Third Proposal where Ms. Smith applied

an overtime Multiplier solely as a result of her manual adjustment to the dates worked for these

midnight details. The City’s revised version of Plaintiffs’ damages calculations, as reflected in

Exhibit 1, reverses this error and removes the overtime Multiplier applied by Ms. Smith where

the record evidence does not support its application.8

       E.      Ms. Smith’s Calculations Do Not Mirror the Descriptions She Provides.

       In several instances, Plaintiffs’ representations to the Court regarding what Ms. Smith did

to conduct her analysis are inconsistent with the analysis itself. For example, Ms. Smith sets out

the specific days on which she claims that she applied a “Holiday pay” Multiplier, citing to the

Malden Police Detail Rules & Procedures. Second Smith Report, at 12. On several occasions,

however, Ms. Smith applied a holiday Multiplier for a date not on that list. Compare Second Smith

Report, at 12 with Table included in footnote 9, infra.9 The City’s revised version of Plaintiffs’



8
  Records where the improper overtime Multiplier was removed are reflected with an “N/A” or “N/A X” in
the “Overtime” Multiplier column of Exhibit 1.
9




                                                  7
        Case 1:19-cv-11835-WGY Document 281 Filed 06/16/22 Page 8 of 14




damages calculations, as reflected on Exhibit 1, eliminate the “Holiday pay” Multiplier for details

worked on these dates.10

        Likewise, Ms. Smith states that she “excluded” from her analysis any detail for which the

trial evidence was “missing information in the raw data such as dates, time, locations.” Second

Smith Report, at 17 ¶ 3. In fact, she included in her analysis, and therefore Plaintiffs seek damages

allegedly incurred as a result of, 29 details that show no location at all. The City’s revised version

of Plaintiffs’ damages calculations, as reflected on Exhibit 1, attributes “$0.00” to each of these

details, as there is no evidentiary basis to conclude these purported details were Private Details

subject to the Court’s October 26 Order.

II.     Plaintiffs’ Interest Calculations Are Inflated.

        In its September 24 Order, the Court ruled that the City is subject to prejudgment interest

pursuant to G. L. c. 231, § 6H. September 24 Order, at 5. The Court further ruled, as a result, that

the proper interest rate is “twelve per cent per annum from the date of commencement of the

action . . .” Id.11 Setting aside the issue of the proper interest rate, Plaintiffs seek to require the

City to pay interest, at the 12% per annum rate, for all details on which they seek to recover,

irrespective of the date when that detail was worked. See Plaintiffs’ Third Proposal, at 11, ¶ 2.12



10
 Records where the improper “Holiday pay” was eliminated are reflected with an “N/A” in the “Holiday”
Multiplier column of Exhibit 1.
11
   The City intends to appeal the Court’s ruling as to the applicability of G.L. c. 231, § 6H, because the City
is a subdivision of the Commonwealth. Pursuant to G.L. c. 231, § 6I, “Interest required to be paid by the
commonwealth pursuant to this section shall be calculated at a Weekly average one-year constant maturity
Treasury yield, as published by the Board of Governors of the Federal Reserve System, for the calendar
week preceding date of the judgment; provided, however, that such interest shall not exceed the rate of ten
percent per annum.” The appropriate rate of interest is thus less than 3%, based on current market interest
rates.
12
  Plaintiffs state that the prejudgment interest calculations included in their Third Proposal are calculated
as running “from August 28, 2019 . . . through May 2, 2022.” Plaintiffs’ Third Proposal, at 11, ¶ 2.
However, the amount of interest they seek does not reflect this calculation. It appears that Plaintiffs seek
to recover prejudgment interest through May 16, 2022, not May 2, 2022 (i.e., the date that they filed the


                                                      8
         Case 1:19-cv-11835-WGY Document 281 Filed 06/16/22 Page 9 of 14




In other words, Plaintiffs apply one interest rate to the entire amount of damages, dating back to

the date of the filing of the Complaint, as if all of the details for which the Court has ruled that

they were underpaid had already been worked as of the date of the filing of the Complaint.

Plaintiffs’ methodology would be correct, if they sought only to recover for details worked within

the Court-ordered statute of limitations periods. See Section IA, supra. Assuming that the Court

in fact only allows Plaintiffs to recover under Count II for damages incurred during the period

August 28, 2016 to August 29, 2019, see September 24 Order, ¶ 2, the total recoverable

prejudgment interest in this case, applying a rate of 12% per annum through May 16, 2022, is

$452,416.86.      The City has included individually attributable pre-judgment interest in its

calculations reflected in Section IV, infra.13

III.    Paragraph 6 of Plaintiffs’ Third Proposal is Inappropriate.

        Finally, Plaintiffs request that this Court order, as part of its final judgment in this case,

“[t]he City of Malden is Ordered to fully satisfy this Judgment by remitting payment for the full

amounts declared herein by causing payment . . . counsel for the Plaintiffs’ [sic] within thirty (30)

days of the entry of this Judgment.” Plaintiffs’ Third Proposal, at 11, ¶ 6.

        Paragraph 6 of Plaintiffs’ Third Proposal must be stricken or modified. The Court should

order that the judgment be executed within 30 days of issuance thereof if no appeal is noticed, or


Third Proposal). The City has similarly used May 16, 2022 as the date through which prejudgment interest
should be recovered.
13
   If the Court permits Plaintiffs to recover for details worked after August 29, 2019, interest must be
individually calculated to run from the date that they were paid an ostensibly insufficient rate for such post-
Complaint details – i.e., the date of the relevant Plaintiff’s injury for such detail. See O’Malley v. O’Malley,
419 Mass. 377, 381 (1985) (finding that, in a contract action, while plaintiffs are “entitled to an award of
prejudgment interest” for damages that they incurred after the filing of the complaint, the interest runs from
the date of those damages, not from the date of filing); see also Pantazis v. Tsourides, 2009 WL 2603147,
*19 (Mass. Super. July 8, 2009) (same, finding “prejudgment interest . . . should not be applied until the
[damages] had actually been generated . . . Interest should be charged only after the [damages] have been
made”). The City has not made these calculations, in light of the Court’s Order regarding the applicable
statute of limitations.


                                                       9
         Case 1:19-cv-11835-WGY Document 281 Filed 06/16/22 Page 10 of 14




within 30 days after such judgment is affirmed on appeal. The City notes that it will move to stay

the execution and proceed with an appeal, without the posting of a supersedeas bond, as permitted

in the discretion of the Court under Fed. R. Civ. P. 62(b).14

IV.      The Appropriate Final Judgment Award, In Light of This Court’s Orders.

         Correcting for all of the inaccuracies in Plaintiffs’ Third Proposal (with the exception of

the “manual adjustments” impacting midnight details), and reserving all rights with respect to its

forthcoming appeal in this matter, the City submits that the Court’s final judgment in Plaintiffs’

favor should reflect, at most, the following individualized damages and interest amounts:

                 Officer                     Single Damages            Treble           Prejudgment
                                                                      Damages              Interest
           Amirault, J. #10601                   $8,727.31           $26,181.93           $2,844.35
             Bailey, P. #10603                  $19,400.06           $58,200.16           $6,322.74
          Barthelmes, R. #10604                 $16,722.26           $50,166.77           $5,450.01
            Bellavia, S. #10605                 $45,215.00          $135,645.01          $14,736.19
            Bellavia, S. #14516                 $24,685.58           $74,056.75           $8,045.37
            Borges, A. #15597                   $12,811.85           $38,435.55           $4,175.56
           Bourque, D. #13485                   $10,043.92           $30,131.76           $3,273.45
         Bowie-Pierce, N. #15600                  $515.50             $1,546.50            $168.01
           Calhoun, T. #12822                   $20,751.51           $62,254.52           $6,763.20
             Carlin, C. #10609                   $1,064.71            $3,194.13            $347.00
            Carroll, S. #10610                  $13,733.99           $41,201.97           $4,476.10
           Casaletto, M. #10611                  $7,402.10           $22,206.30           $2,412.45
        Casella, J. #10612; #15958               $6,793.93           $20,381.79           $2,214.24
            Catana, D. #10618                   $35,699.57          $107,098.72          $11,634.98
      Centore (F. Murphy), K. #14513             $8,008.18           $24,024.54           $2,609.98
          Charpentier, A. #10668                  $287.64              $862.92              $93.75
             Chen, A. #12903                       $0.00                $0.00                $0.00
             Choi, E. #10613                     $3,985.59           $11,956.77           $1,298.96
           Clemente, R. #10620                  $14,573.88           $43,721.64           $4,749.83

14
  The City is well able satisfy any adverse judgment that may withstand appeal. It is a financially sound
municipality, and the City is working to reserve the funds necessary to satisfy any judgment in a separate,
dedicated account. Under the circumstances, obtaining a supersedeas bond would amount to a waste of
taxpayer funds. See e.g. Cipes v. Mikasa, Inc., 404 F. Supp. 2d 367, 369-70 (D. Mass. 2005) (quoting
Dillon v. City of Chicago, 866 F.2d 902, 904-05 (7th Cir. 1988)).


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    Case 1:19-cv-11835-WGY Document 281 Filed 06/16/22 Page 11 of 14




        Cloherty, C. #14451           $6,349.50    $19,048.49    $2,069.39
           Co, K. #10614              $8,140.06    $24,420.18    $2,652.96
        Connelly, D. #14511          $12,699.93    $38,099.79    $4,139.08
        Correale, R. #10622           $9,088.13    $27,264.39    $2,961.95
           Cox, N. #10623            $16,360.52    $49,081.56    $5,332.12
   Crannell, J. #10624; #16275        $8,151.22    $24,453.66    $2,656.59
        Dadaille, S. #15990            $540.05      $1,620.15     $176.01
         Delaney, J. #10628           $4,360.80    $13,082.40    $1,421.24
      D'Entremont, C. #13650          $8,945.75    $26,837.25    $2,915.54
         Dicarlo, C. #15359           $2,049.91     $6,149.72     $668.09
          Dillon, S. #14860           $1,895.14     $5,685.42     $617.65
      Disalvatore, R. #10631          $5,623.68    $16,871.04    $1,832.83
        Doherty, R. #14515           $10,930.68    $32,792.04    $3,562.46
   Donovan, R. #10632; #16019        $23,277.52    $69,832.57    $7,586.47
          Drees, J. #10633           $14,849.79    $44,549.36    $4,839.75
    Ferrick, K. #10636; #16022       $21,654.53    $64,963.57    $7,057.51
          Ferry, B. #16236              $0.00         $0.00        $0.00
       Fitzpatrick, E. #10637         $9,222.08    $27,666.24    $3,005.60
       Fitzpatrick, S. #10638        $31,467.09    $94,401.28   $10,255.56
         Fortier, R. #10639          $15,836.98    $47,510.93    $5,161.49
        Franzese, D. #10640          $16,120.88    $48,362.63    $5,254.01
          Froio, J. #10641           $21,622.34    $64,867.02    $7,047.02
       Gatcomb, M. #10642            $12,532.59    $37,597.77    $4,084.54
   Gennetti, S. #10643; #10080       $23,254.07    $69,762.22    $7,578.82
       Giordano, M. #10645           $24,936.57    $74,809.72    $8,127.17
         Gomez, E. #15077            $13,593.00    $40,778.99    $4,430.14
         Grenier, A. #15612           $1,959.55     $5,878.65     $638.64
        Griffiths, C. #10647          $7,521.93    $22,565.79    $2,451.50
        Halloran, P. #10649          $19,504.87    $58,514.61    $6,356.91
Hassenfratz (F. Mcadam), J. #10670     $555.46      $1,666.37     $181.03
        Headley, T. #10650           $23,179.83    $69,539.49    $7,554.63
        Holland, M. #10653            $4,787.32    $14,361.96    $1,560.25
        Hopkins, P. #10654           $50,697.07   $152,091.22   $16,522.87
         Hussey, S. #14666           $21,239.92    $63,719.76    $6,922.38
        Israelson, E. #10656         $26,823.46    $80,470.38    $8,742.13
          Keefe, J. #15308            $6,280.38    $18,841.14    $2,046.86
          Kelley, J. #10657          $21,110.14    $63,330.40    $6,880.08
     Kelley/Nusum, R. #10689           $400.16      $1,200.48     $130.42
         Killion, K. #10658           $5,945.99    $17,837.96    $1,937.88



                                       11
Case 1:19-cv-11835-WGY Document 281 Filed 06/16/22 Page 12 of 14




   Kinnon, P. #15373        $11,061.54     $33,184.61     $3,605.11
Kruschewsky, G. #12819      $30,946.58     $92,839.74    $10,085.92
   Lamour, J. #13075         $8,892.95     $26,678.84     $2,898.33
  Langston, M. #10660       $13,589.15     $40,767.45     $4,428.89
    Lanni, J. #10661        $11,331.47     $33,994.40     $3,693.08
     Law, K. #10662         $18,616.65     $55,849.94     $6,067.42
    Lopez, G. #14667         $1,199.58      $3,598.74      $390.96
  Lubinger, S. #10666       $11,456.04     $34,368.11     $3,733.68
   Luongo, M. #10667        $12,330.70     $36,992.10     $4,018.74
 Macdonald, M. #10674       $20,560.41     $61,681.23     $6,700.92
   Mackay, G. #10675        $37,737.17    $113,211.52    $12,299.06
    Maher, A. #14517         $3,501.90     $10,505.70     $1,141.32
    Mann, S. #10676         $14,893.08     $44,679.24     $4,853.86
  Manolian, P. #12787       $25,675.55     $77,026.66     $8,363.22
   Martinez, J. #16237         $0.00          $0.00         $0.00
  Mcgahey, L. #10671         $9,277.91     $27,833.72     $3,023.80
  Mckenna, K. #10672        $20,829.78     $62,489.33     $6,788.71
   Mcleod, P. #10673        $10,843.86     $32,531.57     $3,534.16
   Mcneal, E. #14838        $21,136.66     $63,409.98     $6,888.73
  Medeiros, J. #10679        $1,880.26      $5,640.77      $612.80
   Mitchell, P. #10678       $3,543.71     $10,631.12     $1,154.94
  Montina, M. #10682        $14,347.89     $43,043.66     $4,676.17
   Montoya, J. #10681       $13,907.16     $41,721.48     $4,532.53
  Mulcahy, S. #10730         $9,783.84     $29,351.52     $3,188.69
   Munyon, S. #14450         $4,747.46     $14,242.38     $1,547.26
   Newnan, B. #10688        $14,748.14     $44,244.40     $4,806.62
    Noble, S. #10687        $12,305.22     $36,915.66     $4,010.44
   O'Brien, R. #10691        $4,501.29     $13,503.87     $1,467.03
    Owens, J. #10692        $16,985.51     $50,956.52     $5,535.81
     Paci, S. #14120        $11,266.70     $33,800.10     $3,671.97
   Polston, M. #10694        $6,218.49     $18,655.46     $2,026.69
   Powell, M. #10696         $5,149.75     $15,449.24     $1,678.37
    Quinn, M. #15076        $13,069.72     $39,209.16     $4,259.60
  Redmond, J. #14668        $19,637.72     $58,913.15     $6,400.20
  Reynolds, J. #10698       $13,027.87     $39,083.60     $4,245.96
Rowe, W. #10701; #15959      $9,575.57     $28,726.71     $3,120.81
   Russell, K. #16273          $0.00          $0.00         $0.00
  Selfridge, C. #15799      $12,626.83     $37,880.49     $4,115.26
  Selfridge, R. #10705      $19,160.58     $57,481.73     $6,244.69



                               12
       Case 1:19-cv-11835-WGY Document 281 Filed 06/16/22 Page 13 of 14




          Shaw, K. #15991                    $2,528.50          $7,585.48            $824.07
    Sheridan, K. #10706; #16020              $6,366.03         $19,098.09           $2,074.78
          Siegel, A. #14514                 $16,830.62         $50,491.85           $5,485.33
          Sylva, D. #15372                     $0.00              $0.00               $0.00
          Tilley, B. #10712                 $18,070.66         $54,211.97           $5,889.48
         Tuxbury, E. #10714                 $14,184.67         $42,554.01           $4,622.98
         Wadland, R. #10716                 $16,521.07         $49,563.20           $5,384.44
          Walker, J. #10717                 $23,426.28         $70,278.83           $7,634.95
       Washington, C. #15143                 $4,747.82         $14,243.45           $1,547.38
         Watkins, K. #14857                 $15,880.47         $47,641.41           $5,175.66
          Wilson, K. #10718                  $2,543.44          $7,630.32            $828.94
  Yanovitch (F. Selfridge), A. #16012          $0.00              $0.00               $0.00
          Yung, D. #14045                   $12,142.31         $36,426.92           $3,957.34
                 Total                     $1,387,537.89      $4,162,613.67        $452,212.89


       The City further submits that an award of not more than $58,862.50 in attorneys’ fees and

not more than $5,540.25 in costs is an appropriate award in this case. In support of these amounts,

the City refers the Court to its Opposition and Response to [Plaintiffs’ Proposed] Attorney’s Fees

and Cost Award (Dkt. 276), filed simultaneously herewith.




                                                13
       Case 1:19-cv-11835-WGY Document 281 Filed 06/16/22 Page 14 of 14




DATED: June 16, 2022                        Respectfully submitted,

                                            DEFENDANT CITY OF MALDEN

                                            By its attorneys:

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                                CERTIFICATE OF SERVICE

        I hereby certify that, on June 16, 2022, a true and correct copy of the foregoing document
was filed electronically through the Court’s ECF system, which will send notice of this filing to
all counsel of record.

                                             /s/ Alison H. Silveira




                                                14
